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                             EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
  ____________________________________
                                      )
  TERRY LEE BERRY AND                 )
  NANCY BERRY,                        )
                                      )
                    Plaintiffs,       )
                                      )
       v.                             ) Civil Action No. 3:20-cv-00537-TAD-KLH
                                      )
  MONSANTO COMPANY,                   )
                                      )
                    Defendant.        )
  ____________________________________)

               [PROPOSED] CONFIDENTIALITY AND PROTECTIVE ORDER


         It is hereby ORDERED and ADJUDGED, that:

         1.      This Protective and Confidentiality Order (“Protective Order”) governing the

  disclosure of confidential, proprietary, and other protected or privileged information by any Party

  to this action is hereby entered.

         2.      For purposes of this Protective Order, any Party may designate as “Confidential

  Material” any information regarded as confidential by the Party that is contained in any

  document, written discovery response, testimony, or other material produced or provided by that

  Party or its representative(s) to any other Party, whether provided voluntarily, pursuant to formal

  discovery procedures, or otherwise. Nonetheless, the Parties acknowledge that this Order does

  not confer blanket protections on all disclosures or responses to discovery and that the protection

  it affords from public disclosure and use extends only to the information or items that are entitled

  to confidential treatment under the applicable legal principles.

         3.      Any Party may designate a document as Confidential Material by stamping it

  “Confidential,” or “Subject to Protective Order.” All pages of any document that bear such a

  legend are subject to this Protective Order. The Party shall affix the stamp in such a manner so as

  not to obscure the text of the document.



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         4.      Due to the complexity of this action, which is estimated to involve millions of

  pages of documents, and to facilitate the flow of discovery material, at the time of initial

  production, the producing party may designate an entire document as “Confidential” if it believes

  in good faith that any part of the document is confidential or if the document falls within a

  category of documents that the designating party believes is likely to contain a large volume of

  Confidential material.

         5.      After review, the receiving party may request that the producing party identify for

  specific documents (no more than 500 documents in a 30 day period) what parts of those

  documents are confidential. The challenge process described below in paragraph 16 may then be

  used to resolve any disputes as to those designations. If it comes to the designating party’s

  attention that information or items that it designated for protection do not qualify for protection,

  that designating party must promptly notify all other Parties that it is withdrawing its mistaken

  designation.

         6.      To the extent that information stored or recorded in the form of electronic or

  magnetic media (including information, files, databases, or programs stored on any digital or

  analog machine-readable device, computers, Internet sites, discs, networks, or tapes)

  (“Computerized Material”) is produced by any Party in such form, the producing Party may

  designate such materials as Confidential by marking the container in which the media is

  produced “Confidential.” For electronically stored information produced in native format,

  designation of documents as “Confidential” may be made in a produced metadata field or in the

  file name. Whenever any Party receives Computerized Material or documents produced in native

  format that have been designated as Confidential, if such Party reduces such material to

  hardcopy form, that Party shall mark the hardcopy form with the “Confidential” designation.

         7.      If responses to interrogatories, requests for admission, or other written responses

  to discovery quote, summarize, or contain Confidential Material, the Parties may designate them

  as Confidential Material by marking the face of any such response with one of the legends set




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  forth in paragraph (3) above and indicating the page and line references of the material that are to

  be subject to this Protective Order.

         8.      A Party may designate the transcript of any deposition in this action or any

  portion thereof, including exhibits thereto, as Confidential Material by either so advising the

  court reporter and the Parties on the record during the taking of the deposition or within thirty

  (30) days after receipt of the deposition transcript by written designation served upon the Parties.

  If all or any portion of a deposition is designated as being subject to this Protective Order, the

  court reporter and any Parties possessing any transcripts shall label the cover page of each

  transcript or copy thereof to state that the deposition includes Confidential Material, and shall

  label as Confidential each of the pages of the transcript or exhibits that contain Confidential

  Material.

         9.      Any production of any confidential or proprietary material will not result in or be

  construed as a waiver, in whole or in part, of (a) the producing Party’s claims of confidentiality

  either as to the specific information disclosed or more generally as to the subject matter of the

  information disclosed, or (b) the party’s right to later designate the material as Confidential

  pursuant to this Protective Order. In the event that a Party produces any Confidential Material

  without attaching one of the legends described in paragraph (3) above, the Party may

  subsequently designate the material as Confidential at any time by forwarding to the opposing

  Party copies of the material bearing one of the legends required by paragraph (3) and requesting

  that the opposing Party destroy all prior copies of the Confidential Material. Upon receipt of such

  a request, the opposing Party shall destroy all copies of the Confidential Material as originally

  produced and replace them with copies bearing the appropriate confidentiality legend.

         10.     Written and oral communications between or among counsel for the Parties that

  refer to or discuss Confidential Material automatically shall be subject to this Protective Order.

         11.     Confidential Material shall be treated by the Parties and their counsel as being

  confidential and private. Any copy made of Confidential Material shall have the same status as

  the original. The disclosure and use of Confidential Material shall be confined to the permissible


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  disclosures and uses set forth below. Confidential Material shall be used (if otherwise relevant

  and admissible) solely for the litigation of this action, including any appeals, and for any other

  action brought by or on behalf of a former user of Monsanto glyphosate-containing products

  alleging injuries or other damages therefrom, so long as all parties are bound by and subject to

  another judicially approved protective and confidentiality order that is identical to or the

  substantial equivalent to this order and has been agreed to by Monsanto. In addition, before

  Confidential Material is shared with parties to other lawsuits or used for other lawsuits brought

  by or on behalf of a former user of Monsanto glyphosate-containing products alleging injuries or

  damages therefrom, the parties to the other action(s) also must have entered into an ESI protocol,

  protocol governing privilege logs, and protocol or agreement regarding the search and culling of

  data, including keyword search terms, or alternatively only to the extent that Monsanto has

  consented in writing. Confidential Material shall not be used for any other purpose without

  separate written agreement of the Party that produced the Confidential Information. All other

  disclosure and use of Confidential Material during the pendency of this action or after its

  termination are hereby prohibited. Nothing in this Protective Order, however, precludes

  Monsanto Company from making disclosures to government authorities to the extent that it is

  required to disclose Confidential Material by law.

          12.     Confidential Material may be disclosed only to the following persons and only

  insofar as it is reasonably necessary to the effective prosecution of the Parties’ claims and

  defenses:

                  a.      Parties, their representatives, in-house counsel and regular employees who

  are actively engaged in or actively overseeing this action, or are involved in complying with any

  Monsanto Company legal obligations to provide information to governmental authorities;

                  b.      Counsel of record in this action, including their associated attorneys,

  paralegal and secretarial personnel, and other support staff;

                  c.      Experts and consultants (including their employees) who are retained by a

  Party to assist in this action;


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                 d.      Third-party contractors and their employees who are retained by one or

  more Parties to provide litigation-support or copy services in connection with this action;

                 e.      Witnesses or prospective witnesses in this action;

                 f.      Court reporters and other persons involved in recording deposition

  testimony in this action;

                 g.      Named plaintiffs in other actions brought by or on behalf of a former user

  of Monsanto glyphosate-containing products alleging injuries or other damages therefrom and

  their counsel of record, including paralegal, clerical, secretarial and other staff employed or

  retained by such other plaintiffs’ counsel of record if the conditions of Paragraph 11 above have

  been met;

                 h.      Court personnel of this Court, or, if on appeal, of a court with appellate

  jurisdiction; and

                 i.      Jurors in this action.

         Counsel for each Party disclosing Confidential Material in accordance with this

  paragraph shall (i) advise each person to whom such disclosure is made (except Court personnel,

  jurors, and government authorities) of the terms of this Protective Order and of the obligation of

  each such person to comply with those terms and (ii) provide a copy of this Protective Order to

  each such person. Prior to the disclosure of any Confidential Information to any person identified

  in subparagraphs c, d, e, f and g above, such person shall sign an Acknowledgment, in the form

  attached hereto, acknowledging that he or she has read this Protective Order and shall abide by

  its terms. Counsel shall maintain a list of persons to whom confidential materials are disclosed

  (excluding jurors, Court personnel, and government authorities). Upon learning of any disclosure

  of Confidential Material to any person not authorized by this paragraph to receive Confidential

  Material, the Party who so learns shall immediately (i) inform in writing the Party from which

  the Confidential Material was originally received of such disclosure, including to whom the

  material was disclosed, and (ii) take all necessary steps to retrieve as soon as possible each and




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  every copy of all Confidential Material from the unauthorized person and any person to whom

  the unauthorized person disclosed the Confidential Material.

         13.     Disclosure of Confidential Material in accordance with this Protective Order shall

  not effect, nor shall it be deemed to effect a waiver of the attorney-client privilege, the work-

  product immunity, or any other privilege or immunity from disclosure to which such

  Confidential Material may be entitled, whether in this action or in any other action or as to any

  non-party.

         14.     Any use of confidential or protected material at trial shall be governed by a

  separate agreement or order.

         15.     Each Party agrees that in the event it is served by a non-party with a subpoena or

  request for production of Confidential Material originally received from another party, it will

  give sufficient notice to allow that Party a reasonable opportunity to intervene to oppose such

  production. The notice shall include a description of the material sought, the date and location

  for compliance with the subpoena or request, the identity of the requester of the Confidential

  Material, the docket number of the matter where requested, and all other information reasonably

  necessary to intervene and oppose such production.

         16.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

         16.1.   Timing of Challenges. Any Party or Non-Party may challenge a designation of

  confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

  designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

  burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

  challenge a confidentiality designation by electing not to mount a challenge promptly after the

  original designation is disclosed.

         16.2.   Meet and Confer. The Challenging Party shall initiate the dispute resolution

  process by providing written notice of each designation it is challenging and describing the basis

  for each challenge. No more than 500 documents shall be submitted to the challenge process in a

  30-day period. To avoid ambiguity as to whether a challenge has been made, the written notice


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  must recite that the challenge to confidentiality is being made in accordance with this specific

  paragraph of the Protective Order. The parties shall attempt to resolve each challenge in good

  faith and must begin the process by conferring directly (in voice to voice dialogue; other forms

  of communication are not sufficient) within 14 days of the date of service of notice. In

  conferring, the Challenging Party must explain the basis for its belief that the confidentiality

  designation was not proper and must give the Designating Party an opportunity to review the

  designated material, to reconsider the circumstances, and, if no change in designation is offered,

  to explain the basis for the chosen designation. During the meet and confer process, the

  Designating Party must state the bases for its objections to each challenge on a document by

  document basis. A Challenging Party may proceed to the next stage of the challenge process only

  if it has engaged in this meet and confer process first or establishes that the Designating Party is

  unwilling to participate in the meet and confer process in a timely manner.

         16.3.   Judicial Intervention. If the Parties cannot resolve a challenge without court

  intervention, the Challenging Party shall file a “Notice of Improper Confidential Designation”

  with the Court (“Notice”). The Notice shall list the challenged documents by Bates label (or

  other identifying label if no Bates label). The Designating Party shall file a “Motion to Maintain

  Confidentiality” within fourteen (14) calendar days of the Notice, explaining why the documents

  should or should not be de-designated and, if applicable, why the documents are not reasonably

  likely to be used for any litigation purpose. Failure by the Designating Party to make such a

  Motion within 14 days of the Notice shall automatically waive the confidentiality designation for

  each challenged designation. The Challenging Party will then have seven (7) calendar days to

  file a Response. There shall be no Reply absent leave of Court. The Parties may stipulate in

  writing to allow additional time for the Designating Party to make such a Motion to Maintain

  Confidentiality or the Designating Party may move the Court for additional time. The burden of

  persuasion as to whether information is confidential shall be on the Designating Party. If the

  challenged documents could not reasonably be used for any litigation purpose, the Court will

  grant the Motion to Maintain Confidentiality without prejudice to a new objection by the


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  Challenging Party at a later date. Unless the Designating Party has waived the confidentiality

  designation by failing to file a Motion to Maintain Confidentiality as described above, all parties

  shall continue to afford the material in question the level of protection to which it is entitled

  under the Producing Party’s designation until the Court rules on the challenge.

         17.     The production by any Party in the course of discovery in these proceedings of a

  document subject to a claim of privilege, work product, protection from disclosure under federal

  or state law, or other statutory or court-ordered confidentiality, will not result in a waiver of any

  of the foregoing protections, whether in these or any other proceedings, for the produced

  document or any other withheld document covering the same or similar subject matter. Upon

  notice of such disclosure, all originals and copies thereof, shall be returned to the producing

  Party within twenty (20) business days of receipt of such notice and the receiving party shall not

  use such information for any purpose until further Order of the Court. Such returned material

  shall be deleted from any litigation-support or other database. All notes or other work product

  reflecting the contents of such disclosed materials shall be destroyed, and receiving counsel shall

  certify in writing to the producing party’s counsel compliance with this paragraph. In the event

  of disagreement, until such time as the disagreement is resolved, the receiving Party will return

  the document and will not review or use the document or its contents. If the substance of the

  protected document is discussed in a deposition prior to the time of discovery or notification of

  the inadvertent disclosure, the Parties agree that such testimony may not be used for any purpose

  until the dispute is resolved by agreement of the Parties or by Court order. The party to whom

  any produced document was returned shall retain the returned materials until the end of the case,

  including any appeals. Within fifteen (15) business days after notice of the disclosure, the

  producing Party shall provide a log that describes the basis for the claim that the material is

  privileged or otherwise protected from disclosure. After receipt of such a privilege log, any Party

  may dispute a claim of privilege or protection, however, prior to any submission to the Court for

  an in camera review, the Party disputing a claim of privilege or protection shall provide in

  writing the identification of the documents for which it questions the claim of privilege or


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   protection and the reasons (including legal support) for its assertion that the documents are not

   privileged or protected. Within fifteen (15) business days, the Party seeking to support the claim

   of privilege or protection shall provide a written response supporting the claim of privilege or

   protection (including legal support). The Parties will then meet and confer in good faith as to the

   claims of privilege or protection. If agreement cannot be met after ten (10) business days, any

   party may thereafter submit the material under seal to the Court for a determination as to

   privilege or protection. The burden of persuasion in any such challenge proceeding shall be on

   the party asserting privilege or protection.

          18.     The Parties will use the following procedure for submitting to the Court papers

   consisting of, relating to, containing, incorporating, reflecting, describing or attaching

   Confidential Material: consistent with the Court’s Administrative Procedures for Filing

   Documents, any Party submitting such material shall electronically file a motion or application to

   file documents under seal. Documents at issue in a motion to seal will be automatically sealed

   unless the Court finds after 10 court days’ notice to the parties with opportunity to be heard that

   such matter should not be sealed. Documents filed under seal do not notice out automatically

   from the system and must be mailed to opposing counsel. Such material shall be kept under seal

   until further order of the Court; however, such materials shall only be available to the Court and

   counsel of record, and to all persons entitled to receive such information under the terms of this

   Order. When serving such material, the parties shall select the “Sealed, electronic” option to

   ensure that online access is restricted as contemplated by this Order. The parties shall take

   reasonable steps to minimize such sealing. Within seven (7) days of the submission of any

   material under seal, the parties shall confer to determine if the Producing Party objects to the

   filing of the Confidential Information in unsealed form. To the extent of the parties’ agreement

   concerning the treatment of the Protected Information, the filing party may file the subject

   materials in unsealed form. To the extent the parties are unable to reach agreement, either party

   may file a motion to address the appropriate treatment of the subject materials. On such motion,

   the burden of persuasion as to whether information is confidential shall be on the Designating


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   Party. The material shall remain sealed unless the Court orders otherwise. When exhibits to court

   filings are needed, the parties shall file only the pages necessary for their arguments unless the

   Court requests additional material.

          19.     This Protective Order shall not prevent the Parties from using or disclosing their

   own documents and other materials in any manner for any business or personal reason,

   notwithstanding their designation as Confidential Material subject to this Protective Order. The

   use or disclosure by a Party of its own documents or materials shall not terminate, waive or

   otherwise diminish in any way the status of such documents or materials as Confidential

   Materials subject to this Protective Order.

          20.     Upon the final determination, including any appeals related thereto, of this action,

   the producing Party will send a letter to the receiving Party, stating that the lawsuit has

   concluded and requesting that all Confidential Material be returned or destroyed. If, at that time,

   the producing Party has entered an agreement permitting use of the Confidential Materials in

   another action, the producing Party may wait until resolution of that action to send the letter.

   Within thirty (30) days after receipt of that letter, all attorneys in possession of Confidential

   Material shall return all Confidential Material to the disclosing Party or, alternatively, shall

   immediately destroy all such material. All counsel of record shall, within forty-five days of this

   final determination, certify that all Confidential Material, including any such material disclosed

   to any other entity, has been returned or destroyed. The sole exception to the requirements

   described above is that information that has been incorporated into attorney work product or

   other privileged documents need not be returned or destroyed. Such information shall be retained

   by the person to whom the information was produced, and shall be treated as Confidential

   Material in accordance with this Order.

          21.     This Protective Order shall not enlarge or affect the proper scope of discovery in

   this or any other lawsuit, nor shall this Protective Order imply that material designated (or not

   designated) as Confidential Material under the terms of this Protective Order is properly

   discoverable, relevant, or admissible in this or any other lawsuit.


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          22.     Each Party shall retain all rights and remedies available to it under the law for the

   enforcement of this order against anyone who violates it.

          23.     The restrictions of this Protective Order shall continue to apply after this action is

   finally determined and the Court shall retain jurisdiction for all purposes in connection therewith.

   All persons receiving or given access to Confidential Material in accordance with the terms of

   this Protective Order consent to the continuing jurisdiction of the Court for the purposes of

   enforcing this Protective Order and remedying any violations thereof.

          24.     If a party concludes that certain documents require special or additional

   protections beyond the protections of this Order such as a designation of “Confidential –

   Attorneys’ Eyes Only,” the parties will meet and confer about those documents at that time and

   present the issue to the Court if no agreement can be reached.

          IT IS SO ORDERED.




    Date: _________________, 2020
                                                TERRY A. DOUGHTY
                                                United States District Judge




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                                   EXHIBIT A
                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

             I, ___________________________ [print or type full name], of

                                                            [print or type full address], declare under

   penalty of perjury that I have read in its entirety and understand the Protective and

   Confidentiality Order that was issued by the United States District Court for the Western District

   of Louisiana on __________________ [date] in Berry v. Monsanto Co., Civil Action No. 3:20-

   cv-00537-TAD-KLH . I agree to comply with and to be bound by all the terms of this Protective

   and Confidentiality Order, and I understand and acknowledge that failure to so comply could

   expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will

   not disclose in any manner any information or item that is subject to this Protective and

   Confidentiality Order to any person or entity except in strict compliance with the provisions of

   this Order.

             I further agree to submit to the jurisdiction of the United States District Court for the

   Western District of Louisiana for the purpose of enforcing the terms of this Protective and

   Confidentiality Order, even if such enforcement proceedings occur after termination of this

   action.

             I hereby appoint __________________________ [print or type full name] of
   _________________________________________________________ [print or type full address

   and telephone number] as my Louisiana agent for service of process in connection with this

   action or any proceedings related to enforcement of this Stipulated Protective Order.


   Date: ______________________________________

   City and State where sworn and signed: _________________________________

   Printed name: _______________________________

   Signature: __________________________________
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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
   ____________________________________
                                       )
   TERRY LEE BERRY AND                 )
   NANCY BERRY,                        )
                                       )
                     Plaintiffs,       )
                                       )
        v.                             ) Civil Action No. 3:20-cv-00537-TAD-KLH
                                       )
   MONSANTO COMPANY,                   )
                                       )
                     Defendant.        )
   ____________________________________)

                       [PROPOSED] ORDER GOVERNING PRIVILEGE LOGS

          For good cause shown, the Court hereby orders as follows:

          A.      Asserting Privilege or Protection. A party who withholds or redacts documents

   or information contained within a document on the grounds of attorney-client privilege and/or

   work product protection, or any other asserted privilege, shall provide:

                  1.      A listing of such documents in electronic spreadsheet format providing the

          following objective metadata fields (“objective metadata” does not include substantive

          content from, or a subjective description of, the document being withheld or redacted)

          where available:

                          a.      the Bates number of the document (or unique document identifier);

                          b.      the nature of the privilege asserted (“attorney-client privilege” or

                                  “attorney work product”);

                          c.      the name(s) of the author(s) of the document (if known or

                                  knowable) (for email chains, because metadata only captures the

                                  author(s) of the most recent email in the chain, all emails in the




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                                same chain will be listed together in the log and the emails within

                                the chain to which privilege is asserted will state “attorney-client

                                privilege” or “attorney work product”);

                        d.      the name(s) of the recipient(s) of the document, including anyone

                                who was sent the document as a “CC” or a “BCC” (if known or

                                knowable) (for email chains, because metadata only captures the

                                recipients of the most recent email in the chain, all emails in the

                                same chain will be listed together in the log and the emails within

                                the chain to which privilege is asserted will state “attorney-client

                                privilege” or “attorney work product”);

                        e.      the document type, including, for example, whether the document

                                is an email, paper file, a spreadsheet, or other descriptive identifier

                                of the document type; and

                        f.      the date the document was created (if known or knowable), sent (if

                                applicable), and last modified (if applicable).

                2.      The names of the individuals who are identified prior to providing the

         privilege log as being attorneys will be highlighted on the log; if it is discovered that

         names of other attorneys on the log were not highlighted, the opposing party will be

         notified with an offer to provide a replacement log. In addition to the preceding

         paragraph, the withholding/redacting party will also include the following information in

         its privilege log entries (provided the party remains willing to meet and confer further on

         specific documents after production of this privilege log):




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                  Document Type        From and to whom            Content
                  Email                from attorney to client     conveying legal advice
                  Email Attach.        from client to attorney     requesting legal advice
                  Memorandum           between attorneys           discussing legal advice
                  Letter               between clients             discussing litigation
                                       between client and          prepared in anticipation of/for
                  Other Document
                                       attorney                    litigation

          3.      As an alternative to the categories in the preceding paragraph, or where they do

   not apply, the withholding/redacting party may provide alternate individualized descriptions for

   such documents.

          B.      Challenging Asserted Privilege and Protection. After receipt of such a

   privilege log, any Party may dispute a claim of privilege or protection, however, prior to any

   submission to the Court for an in camera review, the Party disputing a claim of privilege or

   protection shall provide in writing the identification of the documents for which it questions the

   claim of privilege or protection and the reasons (including legal support) for its assertion that the

   documents are not privileged or protected. Within thirty days, the Party seeking to support the

   claim of privilege or protection shall provide a written response supporting the claim of privilege

   or protection (including legal support). The Parties will then meet and confer in good faith as to

   the claims of privilege or protection. If agreement cannot be met after fifteen (15) business days,

   any party may thereafter submit the material under seal to the Court for a determination as to

   privilege or protection. If/when challenges are presented to the Court, the parties’ positions on

   those documents will be affirmed by counsel pursuant to Rule 11. If a party believes the

   circumstances require different timing or procedure, they shall meet and confer on alternatives to

   resolving any disputes and if unable to agree may present the issue to the Court.




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          C.     Time for Providing Privilege Log. The producing party shall provide the

   information required by paragraph “A” to the receiving party within 30 days of withholding or

   redacting the related documents.



    Date: _________________, 2020
                                             TERRY A. DOUGHTY
                                             United States District Judge




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
   ____________________________________
                                       )
   TERRY LEE BERRY AND                 )
   NANCY BERRY,                        )
                                       )
                     Plaintiffs,       )
                                       )
        v.                             ) Civil Action No. 3:20-cv-00537-TAD-KLH
                                       )
   MONSANTO COMPANY,                   )
                                       )
                     Defendant.        )
   ____________________________________)

                                [PROPOSED] RULE 502(D) ORDER

          1.      The production of privileged or work-product protected documents, electronically

   stored information (“ESI”) or information, whether inadvertent or otherwise, is not a waiver of

   the privilege or protection from discovery in this case or in any other federal or state proceeding.

   This Order shall be interpreted to provide the maximum protection allowed by Federal Rule of

   Evidence 502(d).

          2.      Nothing contained herein is intended to or shall serve to limit a party’s right to

   conduct a review of documents, ESI or information (including metadata) for relevance,

   responsiveness, and/or segregation of privileged and/or protected information before production.



    Date: _________________, 2020
                                                TERRY A. DOUGHTY
                                                United States District Judge




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
   ____________________________________
                                       )
   TERRY LEE BERRY AND                 )
   NANCY BERRY,                        )
                                       )
                     Plaintiffs,       )
                                       )
        v.                             ) Civil Action No. 3:20-cv-00537-TAD-KLH
                                       )
   MONSANTO COMPANY,                   )
                                       )
                     Defendant.        )
   ____________________________________)

        JOINT STIPULATION AND [PROPOSED] ORDER GOVERNING PROTOCOL
           FOR DISCOVERY OF ELECTRONICALLY STORED INFORMATION

           For good cause shown, the Court hereby adopts and enters as an Order of this Court the

   parties’ proposed Stipulation and Order Governing Protocol for Discovery of Electronically

   Stored Information as follows:

           WHEREAS, counsel for Plaintiffs and Defendant (collectively, the “Parties,” and each, a

   “Party”) have met and conferred regarding discovery of electronically stored information (“ESI”)

   of the Parties;

           WHEREAS, the Parties have reached agreement on certain of the issues discussed

   regarding such discovery;

           WHEREAS, the Parties have entered into this Stipulation and Order Governing Protocol

   for Discovery of Electronically Stored Information (“Order”) to facilitate the just and speedy

   conduct of discovery involving ESI and to promote, to the fullest extent possible, the resolution of

   disputes regarding the discovery of ESI without Court intervention;

   IT IS HEREBY ORDERED that:

   I.      All Parties are bound by and subject to the terms of this Order.



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   II.   Production Format of Defendant’s Electronically Stored Information

         A.    Definitions

               1.     “Document” means paper documents or electronically stored information

                      (ESI) existing in any medium from which information can be obtained or

                      translated into reasonably usable form.

               2.     “Native File(s)” means ESI in the file type for (or of) the application in

                      which such ESI is normally created, viewed and/or modified.

               3.     “Metadata” means: (i) information embedded in a Native File that is not

                      ordinarily viewable or printable from the application that generated, edited,

                      or modified such Native File; and (ii) information generated automatically

                      by the operation of a computer or other information technology system

                      when a Native File is created, modified, transmitted, deleted or otherwise

                      manipulated by a user of such system.

               4.     “Static Image(s)” means a representation of ESI produced by converting a

                      Native File into a standard image format capable of being viewed and

                      printed on standard computer systems. A Tagged Image File Format (TIFF)

                      image is an example of a Static Image.

               5.     “Load/Unitization file” means a set of paper-scanned images or

                      electronically processed files and indicates where individual pages or files

                      belong together as documents, including attachments, and where each

                      document begins and ends. A Load/Unitization file will also contain data

                      relevant to the individual documents, such as Metadata, coded data, and

                      OCR or Extracted Text.




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                   6.      “OCR” means the optical character recognition file which is created by

                           software used in conjunction with a scanner that is capable of reading text-

                           based documents and making such documents searchable using appropriate

                           software.

                   7.      “Extracted Text” means the text extracted from a Native File and includes

                           all header, footer and document body information.

                   8.      Parties will use reasonable, best efforts to comply with the terms of this

                           production format. In the event a party determines that it cannot materially

                           comply with any requirement herein, they will disclose their inability to

                           comply and parties will meet and confer regarding resolution of the

                           identified issue.

           B.      Format of Production

                   1.      Paper Documents

           Paper documents, including spreadsheets maintained in paper form, will be produced as

   TIFF images (consistent with the specifications in Section II.B.2.a.). The production will include

   the appropriate Load/Unitization files which will, at a minimum, contain the following fields

   (described in detail in Section II. B. 2. (e.) infra.):

                           a.       Beginning Production Number (ProdBeg),

                           b.       Ending Production Number (ProdEnd),

                           c.       Beginning Attachment Production Number (BegAttach),

                           d.       End Attachment Production Number (EndAttach),

                           e.       Custodian/Source,

                           f.       Confidentiality,




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                          g.      Document Type,

                          h.      Page Counts, and

                          i.      OCR.TXT file.

          In scanning paper documents, if a document is more than one page, to the extent reasonably

   possible, the unitization of the document and any attachments or affixed notes should be

   maintained as it existed when collected by the producing party. The parties may unitize their

   documents using either physical unitization (i.e., based on physical binding or organizational

   elements present with the original paper documents like staples, clips and binder inserts) or logical

   unitization (i.e., a manual review of the paper to determine what logically constitutes a document

   like page numbers or headers). The parties will meet and confer to resolve any related issues.

                  2.      ESI

                          a.      All TIFF-formatted documents will be single page, Group 4 TIFF at

                                  300 x 300 dpi resolution and 8.5 x 11 inch page size, except for

                                  documents that in the producing party’s reasonable judgment

                                  require a different resolution or page size. The requesting party

                                  retains the right to request a TIFF image in a higher resolution or

                                  larger page size if necessary to render the image legible or

                                  understandable. If a color image is produced in black and white, the

                                  receiving party may request the producing party to produce the

                                  original, color image. After receiving such a request for color

                                  production, the parties will meet and confer on a reasonable and

                                  cost-effective means of providing the requested documents. To the

                                  extent possible, the original orientation shall be maintained (e.g.,




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                          portrait-to-portrait and landscape-to-landscape). Such files will be

                          grouped in folders of no more than 1,000 TIFF files each unless

                          necessary to prevent files from splitting across a folder.

                    b.    In the absence of agreement of the parties or order of Court, a Static

                          Image will be provided in TIFF format (.TIF files). The image file

                          names shall match the Bates number assigned to the image. All

                          documents are to be provided with multi-page searchable OCR or

                          Extracted Text files, as described in paragraph (c).

                    c.    Text Files. Full extracted text will be provided in the format of a

                          single *.txt file for each file (e.g., not one *.txt file per *.tif image).

                          Where ESI contains text that has been redacted under assertion of

                          privilege or other protection from disclosure, the redacted *.tif

                          image will be OCR’d and file-level OCR text will be provided in

                          lieu of extracted text. Searchable text will be produced as file-level

                          multi-page UTF-8 text files with the text file named to match the

                          beginning production number of the file. The full path of the text

                          file must be provided in the *.dat data load file.

                    d.    There will be two Load/Unitization files accompanying all

                          productions. One will be the Image load file and the other will be

                          the Metadata load file. The specifics of these files are detailed in (i)

                          and (ii) below:

                          (i)     Image Load File




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                                 •   Every Document referenced in a production image load file

                          shall have all corresponding images, text, and data logically grouped

                          together in a directory structure with a common key to properly load

                          the data.

                                 •   Documents shall be produced in only one image load file

                          throughout the productions, unless that document is noted as being

                          a replacement document in the Replacement field of the data load

                          file.

                                 •   The name of the image load file shall mirror the name of the

                          delivery volume, and should have an .lfp, .opt or .dii* extension

                          (e.g., ABC001.lfp). The volume names shall be consecutive (i.e.,

                          ABC001, ABC002, et. seq.)             *If .dii file is produced, the

                          accompanying metadata load file shall be separate from the .dii file

                          and not contained within the .dii file.

                                 •   The load file shall contain one row per Tiff image.

                                 •   Every image in the delivery volume shall be contained in the

                          image load file.

                                 •   The image key shall be named the same as the Bates number

                          of the page. Load files shall not span across media (e.g., CDs,

                          DVDs, Hard Drives, etc.), i.e., a separate volume shall be created

                          for each piece of media delivered.

                          (ii)       Metadata Load File

                                 •   The metadata load file shall use the following delimiters:



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                                  - Column Delimiter: Pipe – | (ASCII 124)

                                  - Text Qualifier: Caret – ^ (ASCII 94)

                                  - New line: Registered sign - ® (ASCII 174)

                              •   Data for documents shall be produced in only one data load

                          file throughout the productions, unless that document is noted as

                          being a replacement document in the Replacement field of the data

                          load file.

                              •   The first record shall contain the field names in the order of

                          the data set forth in (B. 2. e.). Metadata fields that are not applicable

                          to a document shall be filled with a NULL value along with fields

                          that were not able to be obtained due to a processing error or corrupt

                          file.

                              •   All date fields shall be produced in "mm/dd/yyyy hh:mm:ss

                          AM" format.

                              •   A carriage-return line-feed shall be used to indicate the start

                          of the next record.

                              •   Load files shall not span across media (e.g., CDs, DVDs,

                          Hard Drives, etc.); a separate volume shall be created for each piece

                          of media delivered.

                              •   The name of the metadata load file shall mirror the name of

                          the delivery volume, and shall have a .dat, .csv or .txt extension (i.e.,

                          ABC001.dat).




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                                 •   The volume names shall be consecutive for each produced

                             source. (i.e., ABC001, ABC002, et. seq.).

                        e.   Except as set forth herein, ESI will be produced to the requesting

                             party as Static Images together with a Load/Unitization file that will

                             contain the Metadata fields described below on the document level,

                             except as set forth in section (B.) (2.) (l.) infra. The following fields

                             associated with each electronic document including the body of the

                             document, will be produced in the appropriate Load/Unitization file.



                Field           Summation Field             Definition            Doc     Source: Load
                                   (Florida)                                      Type     File (L) or
                                                                                          Metadata (M)
    1    SOURCE              SOURCE                  Name of party               All     L
                                                     producing the document
    2    CUSTODIAN           CUSTODIAN               Name of person or data      All     M or L
                                                     source (non-human)
                                                     from where documents/
                                                     files are produced.
                                                     **Where redundant
                                                     names occur,
                                                     individuals should be
                                                     distinguished by an
                                                     initial which is kept
                                                     constant throughout
                                                     productions (e.g., Smith,
                                                     John A. and Smith, John
                                                     B.)
    3    CUSTODIAN ID        CUSTODIAN ID            Each CUSTODIAN              All     M or L
                                                     from #2 above will be
                                                     assigned a unique
                                                     numeric identifier that
                                                     will be maintained
                                                     throughout productions.
    4    BEGBATES            BEGDOC#                 Beginning Bates             All     L
                                                     Number (production
                                                     number)
    5    ENDBATES            ENDDOC#                 End Bates Number            All     L
                                                     (production number)
    6    PGCOUNT             PGCOUNT                 Number of pages in the      All     L
                                                     document
    7    FILESIZE            FILESIZE                File Size                   All     M




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                 Field       Summation Field               Definition            Doc     Source: Load
                                (Florida)                                        Type     File (L) or
                                                                                        Metadata (M)
    8    APPLICAT          APPLICAT                 Commonly associated         All     M
                                                    application for the
                                                    specified file type. (See
                                                    2 (l) below).
    9    FILEPATH          FILEPATH (for Edocs)     File source path for all    All     M
                           FOLDER (for emails)      electronically collected
                                                    documents and emails,
                                                    which includes location,
                                                    folder name, file name,
                                                    and file source
                                                    extension.
    10   NATIVEFILELINK    DOCLINK                  For documents provided      All     L
                                                    in native format only
    11   TEXTPATH          LOGFILE             or   File path for OCR or        All     L
                           FULLTEXT                 Extracted Text files per
                                                    paragraph (d) above
    12   MSGID             MSGID                    Email system identifier     Email   M
                                                    assigned by the host
                                                    email system. Value
                                                    extracted from parent
                                                    message during
                                                    processing
    13   FROM              FROM                     Sender                      Email   M
    14   TO                TO                       Recipient                   Email   M
    15   CC                CC                       Additional Recipients       Email   M
    16   BCC               BCC                      Blind Additional            Email   M
                                                    Recipients
    17   SUBJECT           SUBJECT                  Subject line of email       Email   M
    18   PARENTBATES       PARENTID                 BeginBates number for       Email   L
                                                    the parent email of a
                                                    family (will not be
                                                    populated for documents
                                                    that are not part of a
                                                    family)
    19   ATTACHBATES       ATTACHID                 Bates number from the       Email   L
                                                    first page of each
                                                    attachment
    20   BEGATTACH         (will be provided from   First Bates number of       Email   L
                           ATTRANGE)                family range (i.e. Bates
                                                    number of the first page
                                                    of the parent email)
    21   ENDATTACH         (will be provided from   Last Bates number of        Email   L
                           ATTRANGE)                family range (i.e., Bates
                                                    number of the last page
                                                    of the last attachment)
    22   ATTACHCOUNT       ATTACHMENT               Number of attachments       Email   L
                           COUNT                    to an email
    23   ATTACHNAME        ATTACHMENT LIST          Name of each individual     Email   M
                                                    attachment




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                 Field            Summation Field             Definition             Doc     Source: Load
                                     (Florida)                                       Type     File (L) or
                                                                                            Metadata (M)
    24   DATESENT               DATESENT               Date Sent                    Email   M
         (mm/dd/yyyy hh:mm:ss
         AM)
    25   DATERCVD               DATERCVD               Date Received                Email   M
         (mm/dd/yyyy hh:mm:ss
         AM)
    26   EMAILDATSORT           DATESENT               Sent Date of the parent      Email   L
         (mm/dd/yyyy hh:mm:ss                          email (physically top
         AM)                                           email in a chain, i.e.
                                                       immediate/direct parent
                                                       email)
    27   READ/UNREAD                                   Whether the Outlook          Email   M
                                                       item was read or unread
                                                       at the time of collection.
                                                       Values provided will be
                                                       “Yes” for read, “No” for
                                                       unread, and a null value
                                                       where the read/unread
                                                       flag value is unavailable.
    28   Email Outlook Type     Email Outlook Type     Type of Outlook item,        Email   M
                                                       e.g. email, calendar
                                                       item, contact, note, task
    29   HASHVALUE              MD5 HASH               MD5 Hash Value for           Edocs   M
                                                       Edocs
    30   TITLE                  DOCTITLE               Title provided by user       Edocs   M
                                                       within the document
    31   AUTHOR                 AUTHOR                 Creator of a document        Edocs   M
    32   DATECRTD               DATECRTD               Creation Date                Edocs   M
         (mm/dd/yyyy hh:mm:ss
         AM)
    33   MODIFIED BY            LAST EDITED BY         Person who has               Edocs   M
                                                       modified a document
    34   LASTMODD               LASTMODD               Last Modified Date           Edocs   M
         (mm/dd/yyyy hh:mm:ss   (mm/dd/yyyy hh:mm:ss
         AM)                    AM)
    35   DocumentType           DocumentType           Descriptor for the type      All     M
                                                       of document:
                                                       "E-document" for
                                                       electronic documents
                                                       not attached to emails;
                                                       "Emails" for all emails;
                                                       "E-attachments" for
                                                       files that were
                                                       attachments to emails;
                                                       and "Physicals" for hard
                                                       copy physical
                                                       documents that have
                                                       been scanned and
                                                       converted to an
                                                       electronic image.



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                     Field          Summation Field           Definition            Doc     Source: Load
                                       (Florida)                                    Type     File (L) or
                                                                                           Metadata (M)
    36    Importance             Importance             High Importance –          Email   M
                                                        indicates Priority in
                                                        Email message.
    37    Redacted               Redacted               Descriptor for             All     M
                                                        documents that have
                                                        been redacted. "Yes"
                                                        for redacted documents;
                                                        "No" for unredacted
                                                        documents.
    38    ProdVol                ProdVol                Name of media that data    All     M
                                                        was produced on.

                                                        Wave 001 – Hard Drive
    39    Confidentiality        Confidentiality        Indicates if the           All     M
                                                        document has been
                                                        designated as
                                                        “Confidential” pursuant
                                                        to any applicable
                                                        Protective Order. “Yes”
                                                        for Confidential
                                                        documents; “No” for
                                                        documents that are not
                                                        so designated.
    40    Color                  Color                  Flag to indicate that      All     M
                                                        document contains
                                                        color. Values provided
                                                        will be “Yes” for color,
                                                        “No” for no color,
    41    FILENAME               @C FILENAME            Original filename at the   All     M
                                                        point of collection,
                                                        without extension of
                                                        native file
    42    FILEEXTENSION          @C FILEEXT             File extension of native   All     M
                                                        file

   This list of fields does not create any obligation to create or manually code fields that are not

   automatically generated by the processing of the ESI; that do not exist as part of the original

   Metadata of the document; or that would be burdensome or costly to obtain. The parties retain the

   right to move the Court for the production of additional electronic metadata fields should ongoing

   discovery reveal the need for such Metadata. The designation of a document as a "Protected

   Document" pursuant to the Protective Order of Confidentiality shall include the metadata produced

   for that document.


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                    f.    Bates Numbering: All images must be assigned a Bates/control

                          number that shall always: (1) be unique across the entire document

                          production, (2) maintain a constant length (zero/0-padded) across

                          the entire production, (3) contain no special characters or embedded

                          spaces, and (4) be sequential within a given document. If a Bates

                          number or set of Bates numbers is skipped in a production, and not

                          otherwise identified on a privilege log, the producing party will

                          disclose the Bates numbers or ranges in a cover letter accompanying

                          the production. Production Bates numbers shall be endorsed on the

                          lower right corner and shall not obscure any portion of the original

                          file. Confidentiality designations, if any, shall be endorsed on the

                          lower left corner of applicable images and shall not obscure any

                          portion of the original file.

                    g.    When processing ESI, GMT should be selected as the time zone. To

                          the extent that a party has already processed ESI using a different

                          time zone, the producing party will note the time zone used in its

                          processing.

                    h.    Documents with dynamic fields for file names, dates, and times will

                          be processed to show the field code (e.g., “[FILENAME]” or

                          “[AUTODATE]”), rather than the values for such fields existing at

                          the time the file is processed.




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                    i.    When the Static Image is produced, the producing party shall make

                          reasonable attempts to maintain and not modify the original Native

                          File and its metadata.

                    j.    The parties will meet and confer regarding collection and production

                          of ESI stored in databases and other structured data under the

                          custody and control of the parties.

                    k.    Electronic file collection will be “De-NISTed”, removing

                          commercially available operating system and application files

                          contained on the current NIST file list. Identification of NIST list

                          matches will be through MD5 Hash values.

                    l.    User-generated files that have been collected that cannot be

                          produced and/or imaged because of technical issues should be

                          identified as exception files and included on a log that lists all

                          metadata set forth in paragraph 2(e) except that the metadata for the

                          APPLICAT field will be obtained from binary encoding from the

                          file, and reason for exception: for example, corruption, unavailable

                          password protection, proprietary software, or other technical issues.

                          The producing party shall provide a copy of this log with its

                          production. If the receiving party requests production of any files

                          listed on the exception log, the parties will meet and confer,

                          including on any reasonable and cost-effective means of providing

                          the requested data.




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                    m.    “Duplicate ESI” means files that are exact duplicates based on the

                          files’ MD5 or SHA-1 hash value. The producing party need only

                          produce a single copy of responsive Duplicate ESI. De-duplication

                          shall not break apart families and shall be performed at a family

                          level.     Defendants will globally (e.g., both within a particular

                          custodian’s file and across all custodian/databases) de-duplicate

                          identical ESI as follows:

                          (1)      Electronic Files: Electronic files will be de-duplicated based

                                   upon calculated MD5 Hash values for binary file content. File

                                   contents only will be used for MD5 Hash value calculation and

                                   will not include operating system metadata (filename, file

                                   dates) values.

                          (2)      Messaging Files: Messaging files will be de-duplicated based

                                   upon MD5 Hash values for the message family, including

                                   parent object and attachments. The following fields will be

                                   used to create the unique value for each message: To; From;

                                   CC; BCC; Date Sent; Subject; Body; and, MD5 Hash values

                                   for all attachments, in attachment order. Messaging materials

                                   will be de-duplicated at a family level, including message and

                                   attachment(s).

                          (3) Log Files: For the existing file collection containing fully

                                   processed duplicate files and messages, duplicate documents

                                   will be listed in a de-duplication log including the same agreed




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                                production format meta-data structure and data delivery

                                criteria as for the "master" production documents. Moving

                                forward, as collected electronic materials are globally de-

                                duplicated during system intake using the above guidelines,

                                defendants will produce logs containing the meta-data field

                                values for de-duplicated files. As document production begins

                                for additional custodians and during rolling productions for

                                existing custodians, an updated de-duplication log shall be

                                produced for each production. The metadata provided will be

                                an accurate representation of the data existing for the

                                documents at the time of collection.

                    n.    Parent-Child Relationship. Parent-child relationships (e.g., the

                          associations between emails and their attachments) shall be

                          preserved. Email and other ESI attachments will be produced as

                          independent files immediately following the parent or email or ESI

                          records. Parent-child relationships will be identified in the data load

                          file pursuant to paragraph II. B. 2. e.

                    o.    Email Threading. Email threads are email communications that

                          contain prior or lesser-included email communications that may also

                          exist separately in a Party’s electronic files. A most inclusive email

                          thread is one that contains all of the prior or lesser-included e-mails,

                          including attachments, for that branch of the email thread. The

                          Producing Party shall produce the most inclusive email thread and




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                          all prior or lesser included email threads that were collected and

                          identified as responsive and not privileged.

                    p.    Embedded Objects: Objects embedded in Microsoft Word and

                          .RTF will be extracted as separate documents and produced as

                          attachments to the document.

                    q.    Compressed files. Compression file types (i.e., .CAB, .GZ, .TAR.

                          .Z, .ZIP) shall be decompressed in a reiterative manner to ensure that

                          a zip within a zip is decompressed into the lowest possible

                          compression resulting in individual folders and/or files.

                    r.    Replacement files:     Any documents that are replaced in later

                          productions shall be clearly designated as such, by appending a “-

                          R” to the production prefix and by a letter accompanying the

                          production clearly designating such documents as replacements.

                    s.    Native Files. The parties acknowledge that production in TIFF and

                          load file format may be inadequate for certain types of ESI (e.g.

                          spreadsheets). The following files shall be produced in native format

                          (except for redacted documents):

                          i.    All audio files and video files shall be produced in native

                                format with the source file path provided.

                          ii.   Electronic spreadsheet (e.g., Excel), electronic presentations

                                (e.g., PowerPoint), desktop databases (e.g., Access), and

                                audio/video multimedia files shall be produced in native

                                format whenever possible. The production of the electronic




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                                 spreadsheets shall include hidden rows, columns and

                                 worksheets. Native Excel files will be redacted by overwriting

                                 the data contained in a particular cell, row, column or tab with

                                 the term “REDACTED.” If the production party deems it

                                 necessary to produce redacted Excel (or other spreadsheet

                                 formats) in any format other than Native, the parties should

                                 meet and confer before such a production is made.

                          iii.   Electronic presentations (e.g. PowerPoint). The production of

                                 the electronic presentation files shall include comments,

                                 hidden slides, speaker notes, notes and similar data. To the

                                 extent native files are produced without an accompanying

                                 rendering of TIFF images, a slip sheet will be produced in

                                 TIFF format to facilitate Bates and confidentiality stamping.

                                 If documents requested in native format require redactions, the

                                 parties will produce TIFF images for those documents.

                                 Confidentiality of documents produced in native will be noted

                                 in the File Name along with the Bates number and in a

                                 metadata field. If a dispute arises with respect to the provision,

                                 the parties agree to meet and confer in an effort to resolve their

                                 differences. Should the producing party collect Statistical

                                 Analysis System, the parties shall meet and confer regarding

                                 production format prior to production.




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                          iv.   Word Processing Files. Word processing files including

                                limitation Microsoft Word files (*.doc and *.docx), with

                                tracked changes and comments showing. Such word files will

                                be produced in native format.

                    t.    Emails: Emails will be produced with the CC and BCC line

                          displayed.

                    u.    Word Processing Files. Word processing files, including without

                          limitation Microsoft Word files (*.doc and *.docx), will be produced

                          with tracked changes and comments showing.             Supplemental

                          requests for native format and color copies will be governed by

                          Section II. B. 2. a, above.

                    v.    Any native files that are produced shall be produced with the source

                          file path provided, as well as all extracted text and applicable

                          metadata fields set forth in Section II. B. 2. e.

                    w.    The parties shall exchange production samples as follows: (1)

                          standard production from each source (physical, email, electronic

                          document, native, etc.) which fully exercises the metadata fields set

                          forth above; (2) replacement production; (3) clawback.

                    x.    Redacted Document Log. The producing party will provide a log

                          identifying by bates/production number each document that

                          contains a redaction and the reason for the redaction. In addition, if

                          the redaction is based on attorney-client privilege or the work-

                          product doctrine, the document also will be addressed on the




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                            privilege log and comply with any order entered governing the

                            privilege log.

                     y.     Privilege Log. Privilege logs shall be produced in PDF format, and

                            shall be accompanied by an Excel copy of the log. The PDF copy

                            will be the official privilege log of record. The privilege log also

                            shall comply with any order entered governing the privilege log.

                     z.     Suppressed Metadata Log. The producing party will provide a log

                            identifying by bates/production number each document that

                            contains metadata field values subject to Privacy or Privilege

                            exceptions. Suppressed field values will be replaced in whole with

                            a “REDACTED” placeholder value.           The log will provide the

                            document BEGBATES value, field name suppressed and the

                            suppression reason.

                     aa.    Foreign Language Documents. All documents shall be produced

                            in their original language.      If two documents are substantially

                            identical except that they are in different languages, they shall not

                            be treated as exact duplicates. Nothing in this agreement shall

                            require a producing party to prepare a translation or certify the

                            translation that they possess.

         C.    Objections to Production of ESI

               1.    Nothing in this agreement waives a party’s right to object to production of

                     ESI that is not reasonably accessible because of undue burden or cost. The

                     identification of documents pursuant to this ESI Protocol need not include




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                     searches of ESI from sources that are not reasonably accessible because of

                     undue burden or cost. Such sources that are not reasonably accessible

                     include, but are not limited to: (a) deleted, fragmented or slack data; (b)

                     random access, cache or other ephemeral data; (c) ESI contained on

                     “Backup Systems” (e.g., systems that periodically store electronic

                     information on tape or comparable media to permit recovery of the

                     information in the event of a system failure); (d) on-line data access data

                     such as temporary internet files or cookies; and (e) ESI that cannot be

                     directly opened by its native application due to conversion to a different

                     format for backup or archival purposes.

               2.    If asserting an objection based on paragraph II(C)(1), the responding party

                     will inform the requesting party of the electronic information it is willing to

                     produce, the nature and location of the information claimed to not be

                     reasonably accessible, the reason(s) why the requested production would

                     impose an undue burden or is unreasonably costly, and afford the requesting

                     party an opportunity to propose an alternative means of compliance with the

                     request, including payment of all or part of the costs of retrieving the

                     information. If an agreement cannot be reached as to the producing party’s

                     objection to production, the parties shall seek judicial assistance.

         D.    Continuing Obligations

               1.    To expedite discovery of relevant electronic evidence and reduce costs, the

                     parties’ computer experts will informally cooperate and discuss procedures

                     or protocols to facilitate identification, retrieval and production of




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                        computerized information. This responsibility shall be continuing, unless

                        otherwise ordered by the Court.

                 2.     The inadvertent production of any materials constituting or containing

                        attorney-client privileged information or attorney work product shall not

                        waive any claim of privilege. If a receiving party disclosed the document(s)

                        or information contained in the document(s) before being notified of its

                        inadvertent production, the receiving party shall take reasonable steps to

                        retrieve that information until the privilege claim has been resolved.

                 3.     The parties will work with one another in good faith to resolve any issues,

                        disputes or objections that arise in connection with electronic discovery

                        issues before raising such matters with the court. Issues shall be raised

                        promptly in writing, and the parties shall have good faith discussions to

                        attempt to resolve the matter. The parties will use their best efforts to raise

                        any objections or other requests related to a production within ninety (90)

                        days of receipt of that production. In any event, the parties must raise any

                        objections or other issues sufficiently in advance of the close of discovery

                        to permit good faith negotiations to resolve the matter and briefing of any

                        related motion such that the court has a reasonable time to rule thereon prior

                        to the close of discovery.

   III.   Encryption. To maximize the security of information in transit, any media on which

          documents are produced may be encrypted by the producing Party. In such cases, the

          producing Party shall transmit the encryption key or password to the requesting Party,

          under separate cover, contemporaneously with sending the encrypted media.




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   IV.   Other Agreements. Other orders have been proposed to the Court, may have already been

         entered, or will be entered in the future that supplement, complement, or otherwise impact

         application of this Order and/or discovery in this case. For example, the parties note that

         this Order does not govern the content of privilege logs except as noted and a protective

         and confidentiality order is contemplated. This Order also does not address the scope of

         discovery, timing and order of discovery, and the procedure for search and culling of

         documents to be reviewed.

   V.    Reservation. Each party reserves the right to object to production of documents in the

         format described herein to the extent that production in such format is impracticable or

         unreasonably burdensome or expensive.



    Date: _________________, 2020
                                             TERRY A. DOUGHTY
                                             United States District Judge




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